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 1 K&L GATES LLP
   Jonathan P. Hersey (Cal. Bar No. 189240)
 2
     jonathan.hersey@klgates.com
 3 1 Park Plaza, 12th Floor
   Irvine, California 92614
 4
   Telephone: (949) 253-0900
 5 Facsimile: (949) 253-0902
 6 Attorneys for Plaintiff
 7 WF CAPITAL, INC.
 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11
     WF CAPITAL, INC.,                          CASE NO. 8:10-MC-00029-UA
12
                       Plaintiff,                         RENEWAL OF
13
          v.                                    JUDGMENT BY CLERK
14
     WILLIAM J. BARKETT and LISA
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     BARKETT,
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                       Defendants.
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                                    RENEWAL OF JUDGMENT BY CLERK
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 1        Based upon the application for renewal of judgment and supporting declaration,
 2 and pursuant to Federal Rule of Civil Procedure 69(a) and California Code of Civil
 3 Procedure §§ 683.110 through 683.220, and good cause appearing therefor, the
 4 judgment of this Court entered in favor of Plaintiff and Judgment Creditor WF Capital,
 5 Inc. on December 21, 2010 (“Judgment”) against Defendants and Judgment Debtors
 6 William J. and Lisa Barkett (“Judgment Debtors”) is hereby renewed in the amounts set
 7 forth below:
 8            a.   Amount of Original Judgment (including            $14,599,046.76
 9                 pre-judgment interest)
10            b.   Amount of Attorney’s Fees and Costs                   $25,113.50
11                 Awarded on 9/17/2010
12            c.   Subtotal of Original Judgment & Fees              $14,624,160.26
13            d.   Interest on Subtotal of Original Judgment         $17,534,568.48
14                 and Fees at 12% per annum from
15                 12/21/2010 to 12/18/2020
16                 (calculated as $1,754,899.23 of interest per
17                 annum x 10 years - 3 days at $4,807.94 per
18                 day)
19            e. . Recoverable costs in Renewed Washington                  $400.00
20                 Judgment
21            f.   Total amount of renewed judgment in this          $32,159,128.74
22                 District Court (c. + d. + e.)
23
24 DATED: 12/23/2020
          _________________
25                                           y:
                                            By:
26                                                          Clerk of the Co
                                                                         Court
                                                                            rt
                                                                                  ----------
                                                                                 -XXXXX-
                                                                                 (SEAL)
27
28
                                                   -2-
                                 RENEWAL OF JUDGMENT BY CLERK
